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                            EXHIBIT A
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                                                                                   2016
                                                                                   Owner’s Handbook &
                                                                                   Warranty Information




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    ✄  OWNER INFORMATION CHANGE CARD
        If you have changed your address or if you are the second or subsequent owner                          Check one:
        of your Hyundai, please notify us immediately by completing and mailing this                           ❒  Change of Ownership
        owner information change card to:
                                                                                                               ❒  Change of Address
        Hyundai Customer Connect Center
        Hyundai Motor America
        PO Box 20850
        Fountain Valley, CA 92728

        NEW OWNER INFORMATION
                                                                                                            Miss     Ms.   Mrs.   Mr.
         LAST NAME                        FIRST                              M.I.                                     CIRCLE


         MAIL ADDRESS: NUMBER                              STREET                                                             APT.


         CITY/TOWN                                                                  STATE                                   ZIP CODE


         TELEPHONE NUMBER
        VEHICLE IDENTIFICATION: The VIN is located on the driver’s side of the dash.


         VEHICLE IDENTIFICATION NUMBER                                                                             ODOMETER READING



                              SIGNATURE
                                                                                                                                     1
     ✄




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                            * FOR ROADSIDE ASSISTANCE CALL 800-243-7766 (See page 9 for details)

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              SECTION 1                                                                                           OWNER INFORMATION
              GENERAL INFORMATION                                              PRE-DELIVERY INSPECTION
SECTION 1



              This handbook describes the consumer information and war-        To ensure your satisfaction and long term enjoyment of your
              ranties relating to your new Hyundai vehicle.                    new Hyundai vehicle, your selling dealer has inspected and
                                                                               conditioned your vehicle to Hyundai’s recommended inspec-
              Please read this handbook carefully to familiarize yourself      tion and pre-delivery procedure standards.
              with the type of service which you are entitled to under each
              of the warranties applicable to your new Hyundai vehicle.        PERIODIC INSPECTION AND MAINTENANCE
                                                                               Regular inspection and maintenance by skilled Hyundai tech-
              To familiarize yourself with your new Hyundai vehicle, we sug-   nicians is the key to more efficient operation of the vehicle.
              gest you also review the maintenance requirements and op-        This inspection and maintenance must be carried out in ac-
              erational features described in your Owner’s Manual.             cordance with the recommendations given in your Hyundai
                                                                               Owner’s Manual.




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       SECTION 2                                                                                            THE HYUNDAI STORY
       HYUNDAI — AN OVERVIEW                                            HYUNDAI MOTOR COMPANY




                                                                                                                                            SECTION 2
       Hyundai vehicles provide customers a high level of content       The Hyundai Group was founded in 1947 as Hyundai Engi-
       and performance at an affordable price and demonstrate           neering and Construction Co. by Ju-Yung Chung. Hyundai
       Hyundai’s emergence as an auto manufacturer whose prod-          Motor Co., established in 1967, is the auto sales leader in the
       ucts compete successfully in technology, quality, styling and    Korean domestic market and exports vehicles to 198 coun-
       refinement with automobiles from around the world.               tries worldwide.

       Hyundai sold its first car, a subcompact model, in the U.S. in   Hyundai Motor Co. (“HMC”) operates the world’s largest inte-
       1986. At the time, few Americans had ever heard of Hyundai       grated automobile manufacturing facility in Ulsan, on Korea’s
       or its products. Since that time, Hyundai has expanded and       southeast coast. In 1996 Hyundai opened the Namyang Tech-
       upgraded its product line in the U.S. and has gained valuable    nology Research Center, one of eight research centers,
       experience in the competitive U.S. automobile market. Hyun-      which includes a complete testing facility with a 2.8-mile oval
       dai now markets a full line of vehicles from subcompacts to      test track and a sophisticated aeroacoustic wind tunnel. That
       luxurious sedans.                                                same year, HMC began production at its state-of-the-art Asan
                                                                        Plant, located southwest of Seoul.

                                                                        A LOOK BACK –
                                                                        HYUNDAI’S ENTRY INTO THE U.S. MARKET
                                                                        The timing of Hyundai’s entry into the U.S. market in 1986 was
                                                                        ideal. At that time most automobile manufacturers had aban-
                                                                        doned the entry-level market in favor of high-end, high-priced
                                                                        vehicles and that left a large void in the market. First-time car
                                                                        buyers such as college students and young families were not
                                                                        able to find adequate, value-equipped cars that met their
                                                                        needs, yet were priced within their economic means.

                                                                                                                                       5


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              SECTION 2                                                                                               THE HYUNDAI STORY
              In February 1986, Hyundai launched its subcompact Excel          EXPANDING THE PRODUCT LINE
SECTION 2



              model in the U.S. market. Customer response was immediate;
              in just seven months Hyundai Motor America had sold its          Sonata
                                                                               Hyundai took a major step toward becoming a full-line automotive im-
              100,000th Excel. Total 1986 sales numbered 168,882 – an in-
                                                                               porter/distributor in 1989 with the introduction of its midsize sedan, the
              dustry record for an import car distributor in its first year.
                                                                               Sonata. This roomy, powerful, front-wheel-drive sedan expanded
              Hyundai sales averaged 1,431 units per dealer, another sales     Hyundai’s appeal to more mature, family-oriented buyers. It also offered
              record. In 1987 Hyundai sales continued to soar reaching a       Excel owners an opportunity to move up within the Hyundai product line.
              record 263,610 units.                                            The Sonata was redesigned for the 2015 model. The new Sonata has a
                                                                               sophisticated design and the largest interior in its class.
              What makes this sales performance all the more remarkable
              is that it was done with dealers located in only 31 of the 50    Scoupe
                                                                               Hyundai’s third entry into the U.S. market was the sporty Scoupe, intro-
              states. In the early years, Hyundai concentrated its sales ef-
                                                                               duced as a 1991 model. The 1993-1995 Scoupe featured the Alpha en-
              forts primarily on the west and east coasts, as well as in the   gine – the first powerplant designed, engineered and manufactured ex-
              southern states. In 1987 Hyundai expanded into the central       clusively by Hyundai.
              portion of the United States, and today there are five regions
              and more than 800 Hyundai dealerships nationwide. Hyundai        Accent
              has sold more than 6 million vehicles in the United States       In 1995, after 9 years in the U.S. market, the Excel was replaced by the
                                                                               all-new subcompact Accent. With the Accent, Hyundai offered custom-
              since its entry in 1986.
                                                                               ers high-tech sophistication and features, but still at an entry-level price.
                                                                               Today's Accent is the fourth generation.

                                                                               Elantra
                                                                               The next member of the Hyundai family to be introduced was the compact
                                                                               Elantra sedan, which debuted as a 1992 model. It quickly became one of
                                                                               Hyundai best-selling models. The 5th generation Elantra was redesigned in
                                                                               2011 and delivers design, safety, and EPA estimated up to 38 MPG highway.
                                                                               The Elantra Coupe and Elantra GT were added in 2013.

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       SECTION 2                                                                                                             THE HYUNDAI STORY
       Elantra Touring                                                                Entourage




                                                                                                                                                                     SECTION 2
       The Elantra Touring was introduced in late 2009, delivering exceptional        In 2007, Hyundai introduced the Entourage. The Entourage was
       versatility and functionality in a sporty package for active families, while   Hyundai's first van in the U.S. market.
       maintaining the exceptional value that is a hallmark of the Elantra
       name.                                                                          Tucson
                                                                                      In 2005, Hyundai added the Tucson. The Tucson is an exciting cross-
       Tiburon                                                                        over utility vehicle that is slightly smaller than the Santa Fe, while still
       In 1997, Hyundai replaced the Scoupe with the exciting Tiburon sport           providing the utility needed for life's daily adventures.The Tucson was
       coupe, with styling based on the HCD-II concept car introduced at the          redesigned in 2011. For 2015, Hyundai added the Tucson Hydrogen EV.
       North American International Auto Show in Detroit in 1993. The Tiburon
                                                                                      Veracruz
       combines sleek, eye-catching styling with outstanding performance
                                                                                      In 2007, Hyundai added the Veracruz. The Veracruz is a stylish mid-
       and handling.
                                                                                      size SUV with standard 7-passenger seating, sleek styling, car-like
                                                                                      ride and premium features.
       Santa Fe
       In the 2001 model year, Hyundai added the Santa Fe. The Santa Fe is            Genesis
       a car-based crossover utility vehicle (XUT) that provides car-like ride        In the 2009 model year, Hyundai added the luxury sedan, Genesis.
       and handling, with the seating position and utility of a sport utility ve-     Genesis has an unprecedented combination of premium performance,
       hicle. In 2013, the Santa Fe was redesigned and Santa Fe Sport model           technology, safety, and quality. Genesis was redesigned for 2015.
       was added.
                                                                                      Genesis Coupe
       XG Sedan                                                                       The Genesis Coupe made its debut in 2010. Genesis Coupe is
       For the 2001 model year, Hyundai added the XG sedan. The XG sedan              Hyundai’s most dynamic performance car ever and the second con-
       was Hyundai's new flagship vehicle in the U.S. - it was larger and more        secutive all-new model introduction from Hyundai appealing directly to
       luxurious than the Sonata.                                                     the car enthusiast.

       Azera                                                                          Equus
       Hyundai replaced the XG sedan with the Azera starting with the 2006            In 2011, the Equus was added as Hyundai's flagship luxury sedan of-
       model year. The Azera is a new definition of the premium sedan, with           fering unsurpassed refinement while exceeding expectations with pre-
       generous interior space. Azera was redesigned in 2012.                         mium amenities and sophisticated design.

                                                                                                                                                                7


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              SECTION 2                                                                                                     THE HYUNDAI STORY
               Sonata Hybrid                                                             HYUNDAI FACILITIES
SECTION 2



               In the 2011 model year, Hyundai introduced the Sonata Hybrid. The         As the presence of Hyundai automobiles and Hyundai Motor
               Sonata Hybrid offers significant visual differentiation from non-hybrid   America continued to grow in America, the company ex-
               Sonata models while retaining the sleek, modern styling elements of
                                                                                         panded its operations and service networks nationwide to
               Hyundai's Fluidic Sculpture design aesthetic. The Sonata Hybrid's
               unique approach to hybrid powertrain design and battery technology        more effectively serve the needs of dealers and customers.
               sets it apart from the mid-size hybrid pack.
                                                                                         Today, Hyundai has regional offices in Jamesburg, NJ,
               Veloster                                                                  Marietta, GA, Aurora, IL, Fountain Valley, CA, and Coppell, TX
               For the 2012 model year, Hyundai added its cutting-edge Veloster          and maintains parts distribution facilities in Ontario, CA, Au-
               three-door coupe. The Veloster delivers innovation to the compact         rora, IL, Lawrenceville, GA, Jamesburg, NJ, Groveport, OH
               coupe segment with unique styling, Hyundai's Blue Link Telematics
                                                                                         and Lancaster, TX. Hyundai port facilities are located in Na-
               System, Pandora internet radio, and Hyundai's first Ecoshift™ dual
               clutch transmission.                                                      tional City, CA, Port Hueneme, CA, Brunswick, GA, Portland,
                                                                                         OR, and Philadelphia, PA.
                                                                                         In 2005, Hyundai opened its first U.S. plant in Montgomery,
                                                                                         Alabama. This plant features state of the art manufacturing fa-
                                                                                         cilities.
                                                                                         After many years in the U.S. automobile market, Hyundai con-
                                                                                         tinues to reinforce its commitment to sell innovative, high-
                                                                                         quality vehicles at the most affordable prices.




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       SECTION 3                                                          HYUNDAI ROADSIDE ASSISTANCE PROGRAM
       HYUNDAI ROADSIDE ASSISTANCE PROGRAM                                  TO RECEIVE ASSISTANCE CALL 800-243-7766




                                                                                                                                            SECTION 3
       The Hyundai Roadside Assistance Program reflects Hyundai’s           A toll-free call to the Hyundai Roadside Assistance line will
       commitment to your complete satisfaction with the Hyundai own-       provide you with assistance for various Roadside Events. See
       ership experience. It is available to you in all 50 states and       “Coverage” section for details on program coverage. To re-
       Canada, 24 hours a day, 365 days a year.                             ceive Roadside Assistance, call the Hyundai Roadside Assis-
                                                                            tance Program phone number, and provide a representative
       60 MONTHS/ UNLIMITED MILES COVERAGE                                  with the following:
       Roadside Assistance is provided on all new 2016 model
       Hyundai vehicles from the date the vehicle is delivered to the       o Your Name
       first retail buyer or otherwise put into use (in-service date),      o Vehicle Identification Number (VIN) located on the driver’s
       whichever is earlier, for a period of 60 months/unlimited miles.       side dashboard
                                                                            o Vehicle Mileage
                                                                            o Vehicle Location
                                                                            o Description of your vehicle’s problem




                                                                                                                                       9


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              SECTION 3                                                         HYUNDAI ROADSIDE ASSISTANCE PROGRAM
              COVERAGE                                                            o Once your vehicle has been diagnosed by an authorized
SECTION 3



              The Hyundai Roadside Assistance Program provides you with             Hyundai Dealership and if the reason for the disablement is
              the following services:                                               a warrantable issue, please contact the Hyundai Customer
                                                                                    Connect Center toll free number at 800.633.5151 to request
              o National Hyundai Dealer Locator Service provides you with           reimbursement.
                the location or phone number of Hyundai Dealerships or            o Examples of non-warranty related tows would include acci-
                Authorized Service Facilities in the United States.                 dents or any other tow incident that is not the result of a
              o Roadside Events are defined as either:                              defect in materials or workmanship.
                1. Towing: Transport for your vehicle to the nearest Hyundai      o Trip Interruption Benefit: In the event a warrantable me-
                   Dealership or Authorized Service Facility, in the unlikely       chanical disablement occurs more than 150 miles away
                   event your vehicle is inoperable, or                             from home, and your vehicle is disabled overnight due to a
                2. Roadside Services:                                               repair in process, Hyundai Roadside Assistance will reim-
                   - Dead Battery/Jump Start                                        burse you for reasonable expenses for meals, lodging, or
                   - Flat Tire Change                                               alternate transportation. Trip Interruption Benefit is limited
                     (except vehicles that have been supplied with the Tire         to $100 per day, subject to a three-day maximum limit per
                     Mobility Kit instead of a spare tire)                          incident.
                   - Lock out service (keys locked in car)
                   - Gas delivery (up to three gallons, where permissible, at
                     no charge when you run out)




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       SECTION 3                                                           HYUNDAI ROADSIDE ASSISTANCE PROGRAM
       EXCLUSIONS                                                            Hyundai Motor America reserves the right to limit services or




                                                                                                                                             SECTION 3
       Roadside Assistance is not available for off-road conditions,         reimbursement to any owner or driver when, in Hyundai Motor
       or conditions manifesting themselves off-road. To receive ser-        America’s judgment, the claims are excessive in frequency or
       vice, the vehicle must be accessible from a publicly main-            type of occurrence.
       tained road.

       Roadside Assistance is NOT A WARRANTY. For a description
       of the warranty covering your 2016 Hyundai see the Hyundai
       New Vehicle Limited Warranty Section of the Owner's Hand-
       book. Roadside Assistance is a limited service, provided to
       you to help minimize any unforeseen vehicle operation incon-
       venience.

       The Hyundai Roadside Assistance Program does not include
       reimbursement for any costs/charges for repairs, parts, labor,
       property loss or any other expense incurred as a result of ac-
       cident/collision, vehicle abuse, racing, vandalism or other
       items not covered by the Hyundai New Vehicle Limited War-
       ranty. Also excluded are services for snow tires, repair to
       studs, mounting or demounting of snow chains, and any
       fines, fees or taxes associated with impound towing as a re-
       sult of any actual or alleged violation of any law or regulation.




                                                                                                                                       11


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              SECTION 4                                                                                      CONSUMER INFORMATION
              HYUNDAI’S CONSUMER ASSISTANCE                                        2) Should you require additional assistance, speak with the
SECTION 4



              PROCESS                                                                 Service Manager or General Manager at the dealer.
              Hyundai is dedicated to achieving the highest level of con-          3) After consulting with your dealership, if you feel additional
                                                                                      clarification or help is needed, write or call our Customer
              sumer satisfaction with our product through quality design
                                                                                      Connect Center:
              and workmanship and customer service. Your Hyundai deal-
              ership is in the best position to assist you with your sales, ser-                  HYUNDAI MOTOR AMERICA
              vice or parts needs.                                                              Hyundai Customer Connect Center
              In the event you have a concern with your vehicle, being able                              PO Box 20850
              to provide the information below will be helpful in seeking as-                      Fountain Valley, CA 92728
              sistance:                                                                                  800-633-5151
                                                                                                 Consumeraffairs@hmausa.com
              -   Name and address
              -   Vehicle model and model year                                     Hyundai's Customer Connect Center representatives are
              -   Date of purchase                                                 available Monday through Friday, between the hours of
              -   Vehicle Identification Number                                    5:00AM and 7:00PM PST and Saturday and Sunday between
                  (a 17-Digit number found on driver’s side dashboard)             6:30AM and 3:00PM PST(English). For Customer Connect
              -   Current mileage                                                  Center assistance in Spanish or Korean, representatives are
              -   Selling and servicing dealer                                     available Monday through Friday between 6:30AM and
              -   Service history of your vehicle                                  3:00PM PST. They are prepared to answer any questions re-
              -   Brief description of concern                                     garding your Hyundai, and may also provide assistance in
              -   Day/evening telephone number                                     getting your concern resolved through the dealer.
              -   What you are seeking
                                                                                   ALTERNATIVE DISPUTE RESOLUTION
              We recommend you use the following steps to resolve your             Hyundai Motor America’s internal consumer assistance pro-
              vehicle's performance or servicing concerns:                         cess will make every effort to resolve every customer concern
                                                                                   in a satisfactory manner. We realize, however, that mutual
              1) First, speak to the Service Advisor at the dealership. This       agreement on some issues may not be possible. To ensure
                 person is in the best position to respond to your concerns.       that you have had an opportunity to have your concern fully
                                                                                   reviewed, Hyundai Motor America provides an Alternative
              12


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       SECTION 4                                                                                     CONSUMER INFORMATION
       Dispute Resolution (arbitration) program. Hyundai offers the        To begin the Alternative Dispute Resolution (arbitration) pro-




                                                                                                                                              SECTION 4
       program through:                                                    cess, simply call the Council of Better Business Bureaus at
                                                                           1-800-955-5100 and you will be sent a Customer Claim Form,
             BBB AUTO LINE                                                 along with a handbook describing how BBB AUTO LINE
             Alternative Dispute Resolution Division                       works. Time and mileage limitations may apply. Please refer
                                                                           to the Owner’s Handbook Supplement for additional informa-
             Council of Better Business Bureaus, Inc.
                                                                           tion regarding eligibility requirements in your state.
             3033 Wilson Boulevard, Suite 600
             Arlington, Virginia 22201                                     IMPORTANT: You must use BBB AUTO LINE prior to seeking
             1-800-955-5100                                                remedies through a court action pursuant to the Magnuson-
                                                                           Moss Warranty Act ("the Act"), except in Georgia, although
                                                                           that option is still available to you. However, if you choose to
       This service is provided at no cost to you and is part of
                                                                           seek remedies that are not created by the Act, you are not re-
       Hyundai’s effort to provide you with an impartial third-party or-   quired to use BBB AUTO LINE, although that option is still
       ganization to equitably resolve your concerns.                      available to you. You must also use BBB AUTO LINE if you
                                                                           are seeking remedies under the "Lemon Laws" of your state if
       AUTO LINE will perform arbitration services on disputes in-         your state statute requires you to do so.
       volving Hyundai vehicles with an alleged nonconformity, de-
                                                                           A decision should be rendered within 40 days of AUTO LINE’s
       fect, or deficient warranty performance, as may be required by      receipt of your properly completed Customer Claim Form.
       state or federal law.                                               BBB will mail you a copy of the arbitrator’s decision and if you
                                                                           accept the decision, all parties must comply with the decision
       NOTE: If your state law requires written notification to the        within the time limits (performance date) set by the arbitrator.
                                                                           Approximately two weeks after the “performance date”, BBB
       manufacturer please write:
                                                                           shall contact the consumer to verify that the arbitrators’ deci-
                                                                           sion has been completed.
             HYUNDAI MOTOR AMERICA
             Hyundai Customer Connect Center                               AUTO LINE’s decisions do not include attorney’s fees, civil
             PO Box 20850                                                  penalties, punitive damages, multiple damages or conse-
                                                                           quential damages other than incidental damages which you
             Fountain Valley, CA 92728
                                                                           may be entitled to under law.
             Consumeraffairs@hmausa.com
                                                                                                                                  13


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              SECTION 4                                                                    CONSUMER INFORMATION
              If you reject the decision of the arbitrator you may pursue
SECTION 4



              other legal remedies under state or federal law; the company
              will not be obligated to perform any part of the decision. De-
              pending on federal or state law, the decision may or may not
              be introduced as evidence by the consumer or the company in
              any civil court action relating to any matter that has been re-
              solved in your arbitration hearing and BBB involvement in the
              case will end as well.
              Important: Please refer to the first page of the Hyundai
              New Vehicle Limited Warranty for more important informa-
              tion regarding alternative dispute resolution and other le-
              gal remedies available to you.




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                  Hyundai Warranty Information



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                                                          HYUNDAI SUMMARY OF WARRANTY COVERAGE
              SECTION 5                                                    HYUNDAI NEW VEHICLE LIMITED WARRANTY
                                                                                    YEARS
                                                                                         1             2               3           4            5             6           7           8            9          10
SECTION 5


                 New Vechicle                                             5 YEARS/60,000 MILES
                    • Adjustments                                         1 YEAR/12,000 MILES
                    • Air Conditioner Refrigerant Charge                  1 YEAR/UNLIMITED MILEAGE
                    • Paint                                               3 YEARS/36,000 MILES
                    • Radio, Tape Deck, CD/DVD Player,
                      Navigational system, Bluetooth                      5 YEARS/60,000 MILES

                    • Battery                                             3 YEARS/36,000 MILES
                Powertrain                                                5 YEARS/60,000 MILES                                                       10 YEARS/100,000 MILES (ORIGINAL OWNER)
                Anti - Perforation                                        7 YEARS/UNLIMITED MILEAGE
                Emissions - Federal                                       5 YEARS/60,000 MILES (or up to first required scheduled maintenance, whichever occurs first)
                Emissions - Federal Specific Components                   8 YEARS/80,000 MILES
                Emissions - California                                    5 YEARS/60,000 MILES (or up to first required scheduled maintenance, whichever occurs first)
                Emissions - California Specific Components                8 YEARS/80,000 MILES OR 7 YEARS/70,000 MILES
                Replacement Parts                                         1 YEAR/12,000 MILES
                Accessories (installed by Authorized Hyundai Dealer)      5 YEAR/60,000 MILES
                Accessories (sold over the counter)                       1 YEAR/UNLIMITED MILEAGE
                Specific components, see "Emission Warranty Parts - Federal Vehicle", NOTE1, page 29
                Specific components, see "Emission Warranty Parts - California Vehicle", NOTE1, NOTE2, NOTE3, page 37
                Original Owner 10 Years/100,000 Miles, Second and subsequent Owner(s) 5 Years/60,000 Miles
                A Hyundai Genuine accessory installed by an Authorized Hyundai dealer on a new vehicle at the time of, prior to, or after the vehicle’s date of delivery to the original retail purchaser, or the
                date the vehicle is first put into service, is covered up to 5 years from the date of original retail delivery or date of first use, or 60,000 miles, whichever occurs first.



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       SECTION 5                                                             HYUNDAI NEW VEHICLE LIMITED WARRANTY
       WARRANTOR                                                               section of this handbook. To ensure that you have had an op-




                                                                                                                                                     SECTION 5
       Hyundai Motor America (HMA) warrants your new 2016 Hyundai              portunity to have your concern fully reviewed, Hyundai pro-
       vehicle pursuant to the limited warranties described in this            vides an Alternative Dispute Resolution (arbitration) program
       Owner's Handbook.                                                       that is offered through:
                                                                                 BBB AUTO LINE
       LIMITATIONS                                                               Alternative Dispute Resolution Division
       Any implied warranty of merchantability or fitness for a particular       Council of Better Business Bureaus, Inc.
       purpose is limited to the duration of these written warranties, ex-       3033 Wilson Boulevard, Suite 600
       cept where the duration of implied warranties is limited by state         Arlington, VA 22201
       law in which case the state law duration limit shall apply. Some          1-800-955-5100
       states do not allow limitations on how long an implied warranty
       lasts, so the above limitation may not apply to you.                    Important: You must use BBB AUTO LINE prior to seeking rem-
                                                                               edies through a court action pursuant to the Magnuson-Moss
       These stated warranties give you specific legal rights. You             Warranty Act ("the Act"), except in Georgia although that option is
       may have other rights, which vary from state to state depend-           still available to you. However, if you choose to seek remedies
       ing upon applicable state law. INCIDENTAL OR CONSE-                     that are not created by the Act, you are not required to use BBB
       QUENTIAL DAMAGES, INCLUDING WITHOUT LIMITATION,                         AUTO LINE, although that option is still available to you. You
       LOSS OF TIME, INCONVENIENCE, LOSS OF USE OF THE                         must also use BBB AUTO LINE if you are seeking remedies un-
       VEHICLE, OR COMMERCIAL LOSS ARE NOT COVERED                             der the “Lemon Laws” of your state if your state statute requires
       UNDER THIS WARRANTY. Some states do not allow the ex-                   you to do so. Please consult the "Consumer Information" section
       clusion or limitation of incidental or consequential damages,           of this handbook and the Owner’s Handbook Supplement for
       so the above limitation or exclusion may not apply to you.              more information about the BBB AUTO LINE program. Time and
                                                                               mileage limitations may apply. Please refer to the Owner’s Hand-
       ALTERNATIVE DISPUTE RESOLUTION                                          book Supplement for additional information regarding eligibility
       If a dispute arises regarding your warranty coverage, please            requirements in your state.
       follow the steps described under the "Consumer Information"



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              SECTION 5                                                          HYUNDAI NEW VEHICLE LIMITED WARRANTY
              WARRANTY TRANSFERABILITY                                             JUDGMENT OF ALL WARRANTY MATTERS
SECTION 5



              The New Vehicle Limited, Anti-Perforation Limited, Emissions         Hyundai Motor America reserves the right to furnish the final
              Performance, Emissions Design and Defect, Emissions Con-             decisions in all warranty matters.
              trol Systems, and Replacement Parts and Accessories Lim-
              ited warranty coverage described in this handbook apply to
                                                                                   WHAT IS COVERED
                                                                                   Repair or replacement of any component originally manufac-
              the vehicle regardless of a change in ownership, and are
                                                                                   tured or installed by Hyundai Motor Company, Hyundai Motor
              transferable to subsequent owners.
                                                                                   Group, Hyundai Motor Manufacturing Alabama (HMMA), Kia
                                                                                   Motors Manufacturing Georgia (KMMG) or Hyundai Motor
              The 10-year/100,000 mile Powertrain Limited Warranty is not
                                                                                   America (HMA) that is found to be defective in material or
              transferable and applies only to the original owner, as defined
                                                                                   workmanship under normal use and maintenance, except any
              under “Original Owner” included in the Powertrain Limited
                                                                                   item specifically referred to in the section “What is Not Cov-
              Warranty (Original Owner) section of this Owner's Handbook.
                                                                                   ered”. Towing expense to the nearest Hyundai Dealership or
                                                                                   Authorized Service Facility is covered when the vehicle is in-
              WARRANTY JURISDICTION
                                                                                   operable due to a warrantable defect. Repairs will be made
              These warranties apply to vehicles manufactured to United
                                                                                   using new Hyundai Genuine Parts or Hyundai authorized
              States specifications which are distributed by Hyundai Motor
              America and registered and normally operated in the 50               remanufactured parts.
              United States and Washington, D.C. Vehicles manufactured
              to other than United States specifications, distributed by other     WARRANTY PERIOD
              than HMA, and registered and normally operated outside the           The warranty period is limited to 5 years from the date of origi-
              50 United States and Washington D.C., are entitled to war-           nal retail delivery or date of first use, or 60,000 miles, which-
              ranty service on the basis of the warranty applicable to such        ever occurs first.
              other distributing country.




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       SECTION 5                                                             HYUNDAI NEW VEHICLE LIMITED WARRANTY
       BATTERY                                                                 RADIO AND SOUND SYSTEMS




                                                                                                                                                    SECTION 5
       An original equipment battery found to be defective in material         An equipment radio, CD player, DVD player, Bluetooth, and
       or workmanship will be covered for the first 3 years from the           Navigational System are covered for the first 5 years from the
       date of original retail delivery or date of first use, or 36,000        date of original retail delivery or date of first use, or 60,000
       miles, whichever occurs first.                                          miles, whichever occurs first.

       ADJUSTMENTS                                                             PAINT
       Most service adjustments required as a result of a manufac-             Paint repairs are covered for the first 3 years from the date of
       turing deficiency are covered for the first year or 12,000 miles,       original retail delivery or date of first use or 36,000 miles,
       whichever occurs first. Thereafter, all adjustments will be con-        whichever occurs first.
       sidered owner maintenance responsibility.                               Some minor cosmetic imperfections that are visible at deliv-
                                                                               ery are covered for 1 year from the date of original retail deliv-
       AIR CONDITIONER REFRIGERANT CHARGE                                      ery or date of first use, or 12,000 miles, whichever occurs
       Air conditioner refrigerant charge is covered for the first year        first.
       from the date of original retail delivery or date of first use with
       no mileage limitation, unless the refrigerant charge is done as
       part of a warrantable repair.




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              SECTION 5                                                        HYUNDAI NEW VEHICLE LIMITED WARRANTY
              OWNER’S RESPONSIBILITIES                                           WHAT IS NOT COVERED
SECTION 5



              * Proper use, maintenance and care of your vehicle in accor-       * Normal maintenance services such as: cleaning & polish-
                dance with the instructions contained in this handbook and         ing, minor adjustments, lubrication, oil/fluid changes, filters,
                in your Owner’s Manual.                                            anti-freeze coolant replenishment, wheel alignment and tire
              * Retain maintenance service records. It may be necessary            rotation unless such services are performed as part of a
                for you to show that the required maintenance has been             covered warrantable repair.
                performed, as specified in the Owner’s Manual.                   * Normal maintenance items (#) are warranted in normal ser-
              * Deliver the vehicle during regular service business hours to       vice, only when the replacement is the result of a defect in
                any authorized Hyundai Dealer to obtain warranty service.          material or factory workmanship, for 12 months from the date
              * Check for trim, paint or other appearance concerns at the          of original retail delivery or date of first use, or 12,000 miles,
                time the new vehicle is delivered.                                 whichever occurs first, or up to the first scheduled mainte-
                                                                                   nance replacement interval. (# - such as belts, brake pads
                                                                                   and linings, clutch linings, filters, wiper blades and all bulbs,
                                                                                   except halogen bulbs which are covered up to 3 years from
                                                                                   the date of original retail delivery or date of first use, or
                                                                                   36,000 miles, whichever occurs first.)
                                                                                 * Normal deterioration or wear of any part.
                                                                                   - Spark plugs
                                                                                   - Worn brake pads/linings
                                                                                   - Worn clutch linings
                                                                                   - Filters
                                                                                   - Worn wiper blades
                                                                                   - Bulbs and fuses (except halogen bulbs which are covered
                                                                                      up to 3 years from the date of original retail delivery or date
                                                                                      of first use, or 36,000 miles, whichever occurs first.)

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       SECTION 5                                                            HYUNDAI NEW VEHICLE LIMITED WARRANTY
         - Other wear and consumable items                                    OBTAINING WARRANTY SERVICE




                                                                                                                                                 SECTION 5
       * Any vehicle where the odometer mileage has been altered.             Warranty service will be provided by an authorized Hyundai
       * Any vehicle that has been scrapped and a certificate of sal-         Dealer without charge for parts or labor. This warranty will not
         vage has been issued for the vehicle.                                apply to warranty service performed by those other than an
       * Damage or failure resulting from:                                    authorized Hyundai Dealer.
         - Negligence of proper maintenance as required in the
           Owner’s Manual.                                                    TIRE INFORMATION
         - Misuse, abuse, accident, theft, water/flooding or fire.            Tires originally equipped on Hyundai vehicles are warranted
         - Use of improper or insufficient fuel, fluids or lubricants.        directly by the tire manufacturer.
         - Use of parts other than Hyundai Genuine Parts, or parts
           of non-equivalent quality and design.                              In the event that you need assistance in locating an autho-
         - Any device and/or accessories not supplied by Hyundai.             rized tire dealership, please contact your authorized Hyundai
         - Modifications, alterations, tampering or improper repair.          Dealer, or Hyundai Customer Connect Center.
         - Parts or accessories used in applications for which they
           were not designed or not approved by HMA.
         - Slight irregularities not recognized as affecting quality or
           function of the vehicle or parts, such as slight noise or vi-
           bration, or items considered characteristic of the vehicle.
         - Tires (See separate tire manufacturer’s warranty).
         - Airborne “fallout”, industrial fall-out, acid rain, salt, hail
           and wind storms, or other Acts of God.
         - Paint scratches, dents, or similar paint or body damage.
         - Action of road elements (sand, gravel, dust or road de-
           bris) which result in stone chipping of paint and glass.


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              SECTION 6                          HYUNDAI POWERTRAIN LIMITED WARRANTY (ORIGINAL OWNER)
              WHAT IS COVERED                                                      WARRANTY PERIOD
SECTION 6



              Repair or replacement of powertrain components listed below,         For original owners only, this Powertrain Limited Warranty will
              originally manufactured or installed by Hyundai Motor Company,       begin upon expiration of the 5 year/60,000 mile New Vehicle
              Hyundai Motor Group, Hyundai Motor Manufacturing Alabama             Limited Warranty, and will continue to cover the Engine and
              (HMMA), Kia Motors Manufacturing Georgia (KMMG) or                   Transmission/Transaxle powertrain components listed on the
              Hyundai Motor America (HMA) that are found to be defective in        following page up to 10 years from the date of original deliv-
              material or factory workmanship under normal use and mainte-         ery or the date of first use, or 100,000 miles, whichever oc-
              nance, except any item specifically referred to in the section       curs first. The Powertrain Limited Warranty is not transferable
              “What is Not Covered”. Towing expense to the nearest Hyundai         to any subsequent owner. For subsequent owners, power-
              Dealership or authorized service location is covered when the        train components are covered under the New Vehicle Limited
              vehicle is inoperable due to a warrantable defect within 5 years     Warranty for 5 years/60,000 miles, whichever occurs first.
              from the date of original retail delivery or date of first use, or
              60,000 miles, whichever occurs first. “Owner’s Responsibilities”     The Powertrain Limited Warranty excludes coverage for ve-
              and “Obtaining Warranty Service” are the same as specified un-       hicles placed in commercial use (e.g. taxi, route delivery,
              der the Hyundai New Vehicle Limited Warranty. Repairs will be        rental, etc.).
              made using new Hyundai Genuine Parts or Hyundai authorized
              remanufactured parts.




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       SECTION 6                          HYUNDAI POWERTRAIN LIMITED WARRANTY (ORIGINAL OWNER)
       ENGINE                                                              ORIGINAL OWNER




                                                                                                                                                SECTION 6
       Cylinder block/head and all internal parts, manifolds, timing       Original Owner is defined as the first retail purchaser of the
       gears, timing chain, timing cover, gaskets and seals, oil pump,     vehicle who took delivery of the vehicle on its date of first use.
       water pump, fly-wheel, oil pan assembly, rocker cover and en-       If the vehicle was first placed in service as a lease vehicle,
       gine mounts, and turbocharger.                                      and the lessee purchases the vehicle at the end of the lease,
                                                                           the 10 year/100,000 mile Powertrain Limited Warranty re-
       TRANSMISSION/TRANSAXLE                                              mains in effect.
       Case and all internal parts, axle shafts (front/rear), constant     If the vehicle was first placed in service as a Hyundai Motor
       velocity joints, front/rear hub bearings, propeller shafts, seals   America (HMA) Manager Demonstrator Vehicle, or Hyundai
       and gaskets, torque converter and converter housing and             Service Loan Car, the original (first) retail purchaser of the ve-
       clutch cover and housing, transfer case for Santa Fe, Tucson        hicle is considered the original owner, and the 10 year /
       and rear differential for Santa Fe, Tucson and Genesis.             100,000 mile Powertrain Limited Warranty remains in effect.
                                                                           This warranty is not transferable to any subsequent owner.
       WHAT IS NOT COVERED                                                 Subsequent owners have powertrain components covered
       Items not covered by this warranty and any exclusion or limi-       under the 5 year/60,000 mile Hyundai New Vehicle Limited
       tations relating to this warranty are the same as those set         Warranty. The 10 year/100,000 mile Powertrain Limited War-
       forth in the “What is Not Covered” section of the Hyundai New       ranty also excludes coverage for vehicles placed in commer-
       Vehicle Limited Warranty already described in this handbook.        cial use (e.g. taxi, route delivery, rental, etc.).
       INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUD-
       ING WITHOUT LIMITATION, LOSS OF TIME, INCONVE-
       NIENCE, LOSS OF USE OF THE VEHICLE, OR COMMER-
       CIAL LOSS ARE NOT COVERED UNDER THIS WARRANTY.




                                                                                                                                          23


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              SECTION 7                                              HYUNDAI ANTI-PERFORATION LIMITED WARRANTY
              WHAT IS COVERED                                                  OWNER’S RESPONSIBILITIES
SECTION 7



              Any Hyundai vehicle body sheet metal found, under normal         Your responsibilities are the same as those described in the
              use, to have developed a perforation (rust hole through the      Hyundai New Vehicle Limited Warranty with the exception of
              body panel) from corrosion due to defects in material or fac-    one additional requirement:
              tory workmanship.                                                * Retain any body repair records. It may be necessary for you
                                                                                 to show that the required anti-corrosion material has been
              WARRANTY PERIOD                                                    applied to any previously replaced or repaired body compo-
              7 years/Unlimited mileage from the date of original retail de-     nents.
              livery or date of first use.                                     * Exhaust system components.
                                                                               * Corrosion of any part of the vehicle other than body panels.
                                                                               * Corrosion of body panels that have been previously re-
                                                                                 paired or refinished from the original factory finish after the
                                                                                 date of retail sale, except for body panels repaired under
                                                                                 this Anti-Perforation Limited Warranty.
                                                                               * INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUD-
                                                                                 ING WITHOUT LIMITATION, LOSS OF TIME, INCONVE-
                                                                                 NIENCE, LOSS OF USE OF THE VEHICLE, OR COM-
                                                                                 MERCIAL LOSS ARE NOT COVERED UNDER THIS WAR-
                                                                                 RANTY.




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       SECTION 7                                                 HYUNDAI ANTI-PERFORATION LIMITED WARRANTY
       * Corrosion of any body panel replaced after the date of retail      Some states do not allow limitations on how long an implied




                                                                                                                                              SECTION 7
         sale, except panels replaced under this Anti-Perforation           warranty lasts, or the exclusion or limitation of incidental or
         Limited Warranty.                                                  consequential damages, so the limitations or exclusions set
       * Corrosion other than perforation. Cosmetic or surface cor-         forth regarding this limited warranty may not apply to you.
         rosion due to defects in material or factory workmanship is
         covered under Paint Coverage for 36 months or 36,000
         miles, whichever occurs first.
       * Corrosion of the exterior surface of the underbody panels
         such as floor pan.
       * Corrosion resulting from: misuse, accident or fire, stone
         chipping, airborne “fallout”, industrial and/or chemical fall-
         out, acid rain, tree sap, hail, wind storm, flood, or other Acts
         of God.
       * Corrosion caused by lack of proper maintenance, misuse,
         or abuse.
       * Matching of paint. Painting of the entire vehicle for match-
         ing of paint is not covered. Painting of the replaced or re-
         paired panel to match the vehicle’s original finish is to be
         decided by HMA on a case by case basis.
       * The duration of any implied warranties, including those of
         MERCHANTABILITY and FITNESS FOR A PARTICULAR
         PURPOSE, regarding perforation defects are limited to the
         duration of this limited warranty.




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              SECTION 8                                              EMISSION DEFECT WARRANTY - FEDERAL VEHICLE
              FEDERAL EMISSION CONTROL WARRANTY                                   tenance, are not covered by the warranty. INCIDENTAL OR
SECTION 8



              STATEMENT                                                           CONSEQUENTIAL DAMAGES, INCLUDING WITHOUT LIMI-
              In accordance with the Federal Clean Air Act, as amended,           TATION, LOSS OF TIME, INCONVENIENCE, LOSS OF USE
              Hyundai Motor America (HMA) warrants to the original and            OF THE VEHICLE, OR COMMERCIAL LOSS ARE NOT
              each subsequent owner of each new 2016 Hyundai vehicle              COVERED UNDER THIS WARRANTY.
              that the vehicle: (1) was designed, built and equipped to con-
              form at the time of sale to applicable federal regulations and      WARRANTY JURISDICTION
              (2) is free from defects in material and workmanship at the         This warranty applies to vehicles manufactured to either Fed-
              time of sale which would cause the vehicle to fail to conform       eral specifications or California specifications which are dis-
              with such regulations for a period of 5 years from the date of      tributed by Hyundai Motor America and registered and nor-
              original retail delivery or date of first use or 60,000 miles,      mally operated in the 50 United States and Washington, D.C.
              whichever occurs first, or up to first required scheduled main-
              tenance, whichever occurs first. Additionally, certain major        WHAT IS COVERED
              emissions control components listed under the following “8          The primary components covered are listed on the following
              Years/80,000 Mile Emission Warranty Parts List” will be cov-        “5 Year/60,000 Mile Emission Warranty Parts List” and “8 Year/
              ered for a period of 8 years from the date of original retail de-   80,000 Mile Emission Warranty Parts List”.
              livery or date of first use, or 80,000 miles, whichever occurs
              first. Any part of this vehicle covered under this warranty         Some items require scheduled replacement as part of the
              which proves to be defective will be repaired or replaced by        scheduled maintenance of the vehicles. Replacement of
              any authorized Hyundai Dealer using new or remanufactured           these items is warranted in normal service up to the first
              Hyundai Genuine Parts. This warranty coverage applies to            replacement interval or up to the limits of the applicable
              the vehicle regardless of a change in ownership and is trans-       emission warranty coverage period, whichever occurs first.
              ferable to subsequent owners. Failures, other than those re-        (Refer to your Owner’s Manual and its Scheduled Maintenance
              sulting from defects in material or workmanship, which arise        Section)
              solely as a result of owner abuse and/or lack of proper main-

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       SECTION 9                                 EMISSION PERFORMANCE WARRANTY - FEDERAL VEHICLE
       WARRANTY JURISDICTION                                             3. The failure to conform results, or will result, in the owner of




                                                                                                                                              SECTION 9
       This warranty applies to vehicles manufactured to either Fed-        the vehicle having to bear a penalty or other sanctions,
       eral specifications or California specifications which are dis-      such as denial of the right to operate or use the vehicle or a
       tributed by Hyundai Motor America and registered and nor-            fine under local, state or federal law.
       mally operated in the 50 United States and Washington. D.C.
                                                                         If all of the above conditions are met, HMA warrants that any
       INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUD-
                                                                         authorized Hyundai Dealer will replace, repair or adjust to
       ING WITHOUT LIMITATION, LOSS OF TIME, INCONVE-
                                                                         Hyundai’s specifications, at “NO CHARGE”, any of the com-
       NIENCE, LOSS OF USE OF THE VEHICLE, OR COMMER-
                                                                         ponents listed on the following Emission Warranty Parts-Fed-
       CIAL LOSS ARE NOT COVERED UNDER THIS WARRANTY.
                                                                         eral Vehicle chart, which may be necessary to cause your ve-
                                                                         hicle to conform to the applicable federal emission standards.
       WHAT IS COVERED
       Some states and local jurisdictions have established periodic
       vehicle inspection and maintenance (I/M) programs to encour-
       age proper maintenance of your vehicle. If an I/M program in
       your area has U.S. Environmental Protection Agency (EPA)
       approval, you may be eligible for HMA’s performance warranty
       coverage under the following conditions:

       1. The vehicle has been maintained and operated in accor-
          dance with the scheduled maintenance instructions de-
          scribed in the Owner’s Manual provided with your vehicle.
       2. The vehicle fails to conform during the warranty period to
          the applicable emission standards as determined by an
          emissions test approved by the Environmental Protection
          Agency (EPA).

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              SECTION 9                                  EMISSION PERFORMANCE WARRANTY - FEDERAL VEHICLE
              WARRANTY PERIOD                                                     EMISSION WARRANTY PARTS LIST
SECTION 9



              This warranty is effective for 5 years from the date of original    Some items require scheduled replacement and are war-
              retail delivery or if the vehicle is first placed in service as a   ranted up to the first replacement interval or up to the limits of
              “demonstrator” or “Company” car prior to delivery, on the date      the applicable emission warranty coverage period, which-
              it is first placed in service, or 60,000 miles, whichever occurs    ever occurs first. (Refer to the Scheduled Maintenance sec-
              first, or up to the first required scheduled maintenance, which-    tion in your Owner’s Manual). The following is a listing of
              ever occurs first. Additionally, certain major emission control     Emission Parts covered under the emission warranties. For
              components listed under the following “8 Year/80,000 Mile           more details about the specific parts that are covered by the
              Emission Warranty Parts List” will be covered for a period of 8     Emission Defect Warranty, contact your dealer. If failure of one
              years from the date of original retail delivery or date of first    of the following components results in failure of any other ve-
              use, or 80,000 miles, whichever occurs first. This warranty         hicle part, both parts will be covered by the Emission Perfor-
              coverage applies to the vehicle regardless of a change in           mance Warranty.
              ownership and is transferable to subsequent owners.                 - 8 YEAR/80,000 MILE EMISSION DESIGN AND DEFECT
              Note:                                                                  WARRANTY PARTS LIST

              Federal Emission Warranty                                           If the vehicle has been in use more than 60 months from the
              The Federal government requires minimum emission war-               date of original delivery or date of first use, or 60,000 miles but
              ranty coverage for the first 2 years or 24,000 miles of vehicle     less than 8 years from the date of original delivery or date of
              use, with coverage for the first 8 years or 80,000 miles for        first use, or 80,000 miles, whichever occurs first, the following
              catalytic converters, the electronic engine control module,         major emissions control components will be covered up to 8
              and the onboard emissions diagnostic device.                        years from the date of original delivery or date of first use, or
                                                                                  80,000 miles, whichever occurs first.
              Hyundai provides greater warranty coverage of 5 years or
              60,000 miles for all emission related components and pro-             Catalytic Converter
              vides 8 years or 80,000 miles coverage on the specific com-           Engine Control Module
              ponents noted.                                                        Onboard Emission Diagnostic Device

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                         5 YEAR / 60,000 MILE EMISSION WARRANTY PARTS - FEDERAL VEHICLE
       Air Induction System                                                                                 Evaporative Control System




                                                                                                                                                                                  SECTION 9
         Air Cleaner Assembly                                                                                Vapor Storage Canister
         Intake Manifold                                                                                     Canister Close Valve
         Surge Tank                                                                                          Canister Purge Control Valve
         Turbocharger Assembly                                                                               Fuel Tank
         Intercooler Assembly                                                                                Fuel Tank Pressure Sensor
       Fuel Metering System                                                                                  Fuel Filler Cap
         Coolant Temperature Sensor                                                                          Vapor Liquid Separator
         Air Flow Sensor                                                                                     ORVR (Vent) Valve
         Manifold Absolute Pressure Sensor                                                                   Rollover (Cut) Valve
         Wheel Speed Sensor                                                                                 Positive Crankcase Ventilation System
         Fuel Injectors                                                                                      PCV Valve and Hose
         Fuel Delivery Line                                                                                 Catalyst and Exhaust System
                                                                                                             Exhaust Manifold Catalytic Assembly *8/80: All vehicles
         Fuel Pump
                                                                                                             Exhaust Manifold
         High Pressure Pump (GDI)
                                                                                                             Exhaust Pipe (from manifold to catalyst)
          Pressure Sensor                                                                                    Catalytic Converter Assembly *8/80: All vehicles
         Throttle Body                                                                                      Charging System
         Throttle Position Sensor                                                                            Alternator
         Idle Speed Control System                                                                           Battery Sensor
         Oxygen Sensor                                                                                       OAD
         Engine Control Module *8/80: All vehicles                                                          Miscellaneous Items Used In Above Systems
         Knock Sensor                                                                                        Hoses, clamps, gasket or seals
       Ignition System                                                                                       Wires, harnesses, connectors
         Spark Plugs and Ignition Wires                                                                      All sensors (switches, solenoids, valves) associated with the ECM
         Ignition Coil                                                                                      Onboard Emissions Diagnostic Device
         Camshaft Position Sensor                                                                            Malfunction Indicator Light and Bulb
         Crankshaft Position Sensor                                                                          Data Link Connector
       Valve Timing System
         Oil Control Valve Assy
         Oil Temperature Sensor
       Spark plugs shall be warranted for the emissions warranty period, or the first scheduled replacement time or mileage, whichever occurs first.
       NOTE 1 : Parts designated by "8/80" are warranted for 8 years or 80,000 miles, whichever occurs first.
       NOTE 2 : Specific emission parts covered up to 5 years or 60,000 miles, whichever occurs first, or up to the first required scheduled maintenance,
                 whichever occurs first (See Owner's Manual for required scheduled maintenance).

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              SECTION 9                                 EMISSION PERFORMANCE WARRANTY - FEDERAL VEHICLE
              WHAT IS NOT COVERED BY THESE EMISSION                             - INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
SECTION 9



              WARRANTIES                                                          WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,
                                                                                  LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS
              THE EMISSION DEFECT WARRANTY AND THE EMISSION                       ARE NOT COVERED UNDER THIS WARRANTY.
              PERFORMANCE WARRANTY SHALL NOT APPLY TO:                          The duration of any implied warranties, including those of
                                                                                MERCHANTABILITY and FITNESS FOR A PARTICULAR PUR-
              - Normal maintenance service (such as filters)                    POSE regarding emission systems defects are limited to the
              - Malfunctions in any part directly caused by misuse, modifi-     duration of these emission system warranties, Some states
                cation, improper adjustment, alteration, tampering, discon-     do not allow limitations on how long an implied warranty
                nection, improper or inadequate maintenance, or use of          lasts, or the exclusion or limitation of incidental or conse-
                leaded gasoline or contaminated fuel.                           quential damages, so the limitations or exclusions set forth
              - Damage resulting from an accident or an Act of God.             regarding these warranties may not apply to you.
              - Any vehicle on which the odometer reading has been al-
                tered so that mileage cannot be readily determined.             OWNER’S RESPONSIBILITY
              - Failures that are a direct result of a lack of performance of   It is the owner’s obligation to properly maintain and use the
                required emission control maintenance as outlined in your       vehicle in accordance with Hyundai’s written instructions in
                Owner’s Manual.                                                 your Owner’s Manual. Failures caused by inadequate or im-
              - Parts or accessories used in applications for which they        proper maintenance are not covered by the warranty. To help
                were not designed or not approved by HMA.                       resolve questions as to whether the proper vehicle mainte-
              - Parts not supplied by HMA or damage to other parts caused       nance has been performed, HMA urges that the owner retain
                directly by using non-Hyundai parts, non-EPA certified re-      all maintenance service records and receipts indicating that
                placement parts in the maintenance or repair of the vehicle     service has been performed on the vehicle.
                which ultimately prove to be defective in material or work-
                manship, or not equivalent from an emission control stand-
                point to the original equipment part.

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       SECTION 9                               EMISSION PERFORMANCE WARRANTY - FEDERAL VEHICLE
       REPLACEMENT PARTS                                               MAINTENANCE SERVICE




                                                                                                                                          SECTION 9
       It is recommended that any replacement parts used for main-     MAINTENANCE, REPLACEMENT OR REPAIR OF THE EMIS-
       tenance or for the repair of emission control systems be new    SION CONTROL DEVICES AND SYSTEMS MAY BE PER-
       or remanufactured Hyundai Genuine Parts.                        FORMED BY ANY QUALIFIED AUTOMOTIVE REPAIR ESTAB-
       THE WARRANTY OBLIGATIONS ARE NOT DEPENDENT                      LISHMENT OR INDIVIDUAL USING ANY PART CERTIFIED
       UPON THE USE OF ANY PARTICULAR BRAND OF RE-                     PURSUANT TO APPLICABLE EMISSION REGULATIONS:
       PLACEMENT PARTS. THE OWNER MAY ELECT TO USE                     HOWEVER, WARRANTY SERVICE MUST BE PERFORMED
       NON-GENUINE HYUNDAI PARTS FOR REPLACEMENT                       BY AN AUTHORIZED HMA DEALER.
       PURPOSES. THE USE OF REPLACEMENT PARTS WHICH                    Claims under the Emission Performance Warranty may not be
       ARE NOT EQUIVALENT MAY IMPAIR THE EFFECTIVENESS                 denied due to the failure of a properly installed certified non-
       OF THE EMISSION CONTROL SYSTEM.                                 Hyundai Genuine Part.
                                                                       Claims may be denied on the basis of an uncertified replace-
       If other than Hyundai Genuine Parts are used for mainte-        ment part used in the maintenance or repair of a vehicle if
       nance replacements or for the repair of components affecting    Hyundai presents evidence that the uncertified replacement
       emission control, the owner should determine that such parts    part is either defective in materials or workmanship or not
       are warranted by their manufacturer to be equivalent to Hyun-   equivalent from an emission standpoint to the original equip-
       dai Genuine Parts in performance and durability.                ment part and the vehicle owner is unable to rebut the evi-
                                                                       dence.
       “New or Remanufactured Hyundai Genuine Parts” when used
       in connection with Hyundai vehicles, means parts manufac-
       tured by or approved by Hyundai, designed for use on Hyun-
       dai vehicles and distributed by HMA.




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              SECTION 9                                EMISSION PERFORMANCE WARRANTY - FEDERAL VEHICLE
              Receipts covering the performance of maintenance service         CLAIMS PROCEDURE
SECTION 9



              should be retained in the event questions arise concerning       To obtain warranty service under these warranties, the owner
              maintenance. These receipts should be transferred to each        should return the vehicle to an authorized Hyundai Dealer
              subsequent owner of this vehicle. HMA reserves the right to      place of business during its normal service business hours,
              deny warranty coverage if the vehicle has not been properly      where such service will be performed at no charge for parts,
              maintained. However, denial will not be based solely on the      labor, diagnosis and tax.
              absence of maintenance records.                                  If an owner’s warranty claim under the 2016 Emission Perfor-
                                                                               mance Warranty is denied, HMA will provide the owner with a
              These warranties apply only to vehicles manufactured to          written explanation of why the claim was denied 1) within 30 days
              United States specifications which are distributed by Hyundai    from the time you bring the car to Hyundai Dealer, or 2) within the
              Motor America and registered and normally operated in the        time required by local, state, or federal law for the vehicle to be
              50 United States and Washington D. C., the commonwealth of       repaired without incurring further penalty, whichever is shorter.
              Puerto Rico, the Virgin Islands, Guam, and American Samoa,       Failure to provide an explanation within the 30-day period
              and includes the commonwealth of the Northern Mariana Is-        shall obligate HMA to remedy the nonconformity under the
              lands. Vehicles manufactured to other than United States         Emission Performance Warranty except:
              specifications, distributed by other than HMA and registered
              and normally operated outside the 50 United States and           o When delay is requested by the vehicle owner.
              Washington DC., the commonwealth of Puerto Rico, the Vir-        o When delay is caused by factors beyond the control of HMA
              gin Islands, Guam, and American Samoa, or the Common-              or authorized Hyundai Dealer.
              wealth of the Northern Mariana Islands are entitled to service
              of the emission control systems on the basis of the warranty
              applicable to such other distribution country.




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       SECTION 9                               EMISSION PERFORMANCE WARRANTY - FEDERAL VEHICLE
       If your Hyundai Dealer cannot repair your vehicle or process




                                                                                                 SECTION 9
       your claim within a reasonable time, please contact the
       Hyundai Customer Connect Center for assistance.

       Further information can be obtained from and complaints reg-
       istered with:

       Director
       Field Operations and Support Division (6406J)
       Environmental Protection Agency
       401 “M” Street. S.W.
       Washington, D.C. 20460
       Attention: Warranty Claim




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              SECTION 10                       EMISSION CONTROL SYSTEMS WARRANTY - CALIFORNIA VEHICLE
              CALIFORNIA EMISSION CONTROL WARRANTY                                   MANUFACTURER’S WARRANTY COVERAGE:
SECTION 10



              STATEMENT                                                              1. For 5 years or 60,000 miles (whichever occurs first):
                                                                                        - If your Hyundai vehicle fails a Smog Check inspection, all
              YOUR WARRANTY RIGHTS AND OBLIGATIONS                                          necessary diagnosis, repairs and adjustments will be made
              The California Air Resources Board and Hyundai Motor America                  by HMA to ensure that your vehicle passes the inspection.
              (HMA) are pleased to explain the Emission Control System War-                 This is your Emission Control System PERFORMANCE
              ranty on your 2016 Hyundai vehicle certified for sale in California.          WARRANTY.
                                                                                        - If any emission-related part on your vehicle is defective, the
              In California, new motor vehicles must be designed, built and                 part will be repaired or replaced by HMA. This is your short-
              equipped to meet the State’s stringent anti-smog standards.                   term Emission Control System DEFECT WARRANTY.
              HMA must warrant the emission control system on your Hyun-             2. Long-term Emission Control System DEFECT WARRANTY
              dai vehicle for the periods of time listed below, provided there           If an emission-related part listed in this Owner's Handbook
              has been no abuse, neglect or improper maintenance of your                on the Warranty Parts List specifically noted with coverage
              Hyundai vehicle.                                                          for "7 years or 70,000 miles" or "8 years or 80,000 miles" is
                                                                                        defective, the part will be repaired or replaced by HMA. This
              Your emission control system includes parts such as the fuel              is your long-term Emission Control System DEFECT WAR-
              injection system, ignition system, catalytic converter, and en-           RANTY.
              gine computer. Also included may be hoses, belts, connectors              o Specific emission components are covered for 7 years or
              and other emission-related assemblies. Where a warrantable                    70,000 miles, whichever occurs first, see Page 37, NOTE1.
              condition exists, HMA will repair your Hyundai vehicle at no              o Specific emission components are covered for 8 years or
              cost to you including diagnosis, parts and labor.                             80,000 miles, whichever occurs first, see Page 37, NOTE2.




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       SECTION 10                    EMISSION CONTROL SYSTEMS WARRANTY - CALIFORNIA VEHICLE
       3. For 2016 Elantra and Sonata SULEV models certified as a       As the Hyundai vehicle owner, you should also be aware that




                                                                                                                                               SECTION 10
          partial zero-emission vehicles, (PZEV) only, all parts cov-   HMA may deny your warranty coverage if your Hyundai ve-
          ered under the PERFORMANCE WARRANTY and the DE-               hicle or a part has failed due to abuse, neglect, improper
          FECT WARRANTY, which are listed in this Owner's Hand-         maintenance or unapproved modifications.
          book on the Emission Warranty Parts List, are warranted for
          15 years or 150,000 miles (whichever occurs first), unless    If you have any questions regarding your warranty rights and
          otherwise noted. See page 37, NOTE4.                          responsibilities, you should contact the Hyundai Customer Con-
                                                                        nect Center at 800-633-5151 or the California Air Resources
       OWNER’S WARRANTY RESPONSIBILITIES                                Board at 9528 Telstar Avenue, El Monte CA 91731.
       As the Hyundai vehicle owner, you are responsible for the per-
       formance of the required maintenance listed in your Owner’s      INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUD-
       Manual. HMA recommends that you retain all receipts cover-       ING WITHOUT LIMITATION, LOSS OF TIME, INCONVE-
       ing maintenance on your Hyundai vehicle, but HMA cannot          NIENCE, LOSS OF USE OF THE VEHICLE, OR COMMER-
       deny emission warranty coverage solely for the lack of re-       CIAL LOSS ARE NOT COVERED UNDER THIS WARRANTY.
       ceipts or for your failure to ensure the performance of all
       scheduled maintenance.                                           Specific emission parts are covered up to 5 years or 60,000
                                                                        miles, whichever occurs first, or up to the first required scheduled
       You are responsible for presenting your Hyundai vehicle to a     maintenance, whichever occurs first, see Page 37, NOTE3.
       Hyundai Dealer as soon as a problem exists. The warranty re-
       pairs should be completed in a reasonable amount of time,        WARRANTY JURISDICTION
       not to exceed 30 days.                                           This warranty applies exclusively to vehicles manufactured to
                                                                        California specifications which are distributed by Hyundai Mo-
                                                                        tor America and registered in the states of California, Con-




                                                                                                                                         35


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              SECTION 10                    EMISSION CONTROL SYSTEMS WARRANTY - CALIFORNIA VEHICLE
              necticut, Delaware, Maine, Maryland, Massachusetts, New          Hyundai provides greater warranty coverage of 5 years or
SECTION 10



              Jersey, Oregon, Pennsylvania, Rhode Island, Vermont or           60,000 miles for all emission related components and 8
              Washington. Its coverage exists in addition to that of the       years or 80,000 miles coverage for catalytic converters,
              Emission Defect Warranty-Federal Vehicle and the Emission        the electronic engine control module, and the onboard
              Performance Warranty-Federal Vehicle.                            emissions diagnostic device.

              1. The 15 year or 150,000 mile extended warranty applies to      WARRANTY PARTS LIST
              parts covered under the Performance and Defect Warranty as       The 5 year/60,000 mile Emission Control System Defect War-
              listed in this Owner’s Handbook to PZEV-certified only ve-       ranty covers any part that can affect emissions.
              hicles sold and registered in the listed states, including the   Some of these consist of the following parts:
              state of New York, with the exception of Delaware, Oregon,
              Pennsylvania and Washington. The 15 year or 150,000 mile
              extended warranty does not apply in Delaware, Oregon,
              Pennsylvania and/or Washington.

              SPECIAL NOTE : According to Federal Regulations, your
              vehicle may also be eligible for additional warranty cover-
              age under the Federal Emission Warranty. California re-
              quires minimum emission warranty coverage of the first 3
              years or 50,000 miles of vehicle use, with coverage for the
              first 7 years or 70,000 miles for certain "high cost" emis-
              sion related parts, determined by a California govern-
              ment specified formula.




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       SECTION 10                                            EMISSION CONTROL SYSTEMS WARRANTY - CALIFORNIA VEHICLE
       Air Induction System                                                                                             Evaporative Control System




                                                                                                                                                                                                                                       SECTION 10
        Air Cleaner Assembly                                                                                             Vapor Storage Canister
        Intake Manifold *7/70: Accent 1.6L, Veloster 1.6L/1.6L-Turbo, Elantra 1.8L, Azera 3.3L,                          Canister Close Valve
                                   Genesis 3.8L/5.0L, Tucson 1.6L-Turbo/2.0L, Santa Fe Sport 2.0L/2.4L, Santa Fe 3.3L    Canister Purge Control Valve
         Surge Tank *7/70: Genesis Coupe 3.8L, Azera 3.3L, Genesis 3.8L, Santa Fe 3.3L                                   Fuel Tank *7/70: Accent 1.6L, Veloster 1.6L/1.6L-Turbo, Elantra 1.8L/2.0L, Elantra GT 2.0L,
         Turbocharger Assembly *7/70: Veloster 1.6-Turbo, Sonata 1.6L-Turbo/2.0L, Tucson 1.6L-Turbo,                                        Sonata 1.6L-Turbo/2.0L/2.4L, Genesis Coupe 3.8L, Azera 3.3L, Genesis 3.8L/5.0L,
                                                Santa Fe Sport 2.0L                                                                         Tucson 1.6L-Turbo/2.0L, Santa Fe Sport 2.0L/2.4L, Santa Fe 3.3L
        Intercooler Assembly                                                                                             Fuel Tank Pressure Sensor
       Fuel Metering System                                                                                              Fuel Filler Cap
        Coolant Temperature Sensor
        Air Flow Sensor                                                                                                  Vapor Liquid Separator
        Manifold Absolute Pressure Sensor                                                                                ORVR (Vent) Valve
        Wheel Speed Sensor                                                                                               Rollover (Cut) Valve
        Fuel Injectors                                                                                                  Positive Crankcase Ventilation System
        Fuel Delivery Line                                                                                               PCV Valve and Hose
        Fuel Pump *7/70: Elantra 2.0L                                                                                   Catalyst and Exhaust System
        High Pressure Pump (GDI) *7/70: Accent 1.6L, Veloster 1.6L/1.6L-Turbo Sonata 2.0L/2.4L,                          Exhaust Manifold Catalytic Assembly *8/80: All vehicles
                                                       Azera 3.3L, Genesis 3.8L/5.0L, Tucson 1.6L-Turbo,                 Exhaust Manifold
                                                       Santa Fe Sport 2.0L/2.4L, Santa Fe 3.3L                           Exhaust Pipe (from manifold to catalyst) *7/70: Veloster 1.6L, Sonata 1.6L-Turbo,
         Pressure Sensor                                                                                                                                                                    Sonata 1.6L-Turbo/2.0L/2.4L
         Throttle Body                                                                                                                                                                      Genesis 3.8L/5.0L
         Throttle Position Sensor                                                                                        Catalytic Converter Assembly *8/80: All vehicles
         Idle Speed Control System                                                                                      Charging System
         Oxygen Sensor                                                                                                   Alternator *7/70: Elantra 1.8L, Sonata 2.0L/2.4L, Genesis 5.0L, Tucson 1.6L-Turbo, Santa Fe Sport 2.0L/2.4L
         Engine Control Module *8/80: All vehicles                                                                       Battery Sensor
         Knock Sensor                                                                                                    OAD
       Ignition System                                                                                                  Miscellaneous Items Used In Above Systems
         Spark Plugs and Ignition Wires                                                                                  Hoses, clamps, gasket or seals
         Ignition Coil                                                                                                   Wires, harnesses, connectors
         Camshaft Position Sensor                                                                                        All sensors (switches, solenoids, valves) associated with the ECM
         Crankshaft Position Sensor
       Valve Timing System                                                                                              Onboard Emissions Diagnostic Device
         Oil Control Valve Assy                                                                                          Malfunction Indicator Light and Bulb
         Oil Temperature Sensor                                                                                          Data Link Connector
       Spark plugs shall be warranted for the emissions warranty period, or the first scheduled replacement time or mileage, whichever occurs first.
       NOTE1: Parts designated by "7/70" are warranted for 7 years or 70,000 miles, whichever occurs first.
       NOTE2: Parts designated by "8/80" are warranted for 8 years or 80,000 miles, whichever occurs first.
       NOTE3: Specific emission parts covered up to 5 years or 60,000 miles, whichever occurs first, or up to the first required scheduled maintenance, whichever occurs first (See Owner's Manual
              for required scheduled maintenance).
       NOTE4: The above parts for an Elantra and Sonata SULEV vehicles, certified as a partial zero-emission vehicle(PZEV) only, are warranted for 15 years or 150,000 miles, whichever occurs first. For the
              vehicles registered in states listed in Section 10 of the Warranty Jurisdiction (see page 35).
                                                                                                                                                                                                                                37


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              SECTION 10                      EMISSION CONTROL SYSTEMS WARRANTY - CALIFORNIA VEHICLE
              Some items are scheduled for replacement as part of the re-          WHAT IS NOT COVERED
SECTION 10



              quired maintenance for the vehicle.
              Replacement of these items is warranted up to the first re-          THE EMISSION CONTROL SYSTEM DEFECTS WAR-
              placement interval or up to the limits of the applicable Emis-       RANTY AND THE EMISSION CONTROL SYSTEM PER-
              sion Warranty coverage period, whichever occurs first (Refer         FORMANCE WARRANTY SHALL NOT APPLY TO:
              to the Scheduled Maintenance chart in your Owner’s Manual).
              Any such part repaired or replaced under warranty shall be           - Malfunctions in any part directly caused by abuse, misuse,
              warranted for the remainder of the warranty period for that            modification, improper adjustment except those done by a
              part.                                                                  dealership during warranty service work, alterations, tam-
              If the failure of a warranted component causes damage to any           pering, disconnections, improper or inadequate mainte-
              other vehicle part, both parts will be covered by the Emission         nance, neglect or use of leaded gasoline or other fuels not
              Warranties.                                                            recommended in the Owner’s Manual.
                                                                                   - Damage resulting from an accident or an Act of God.
              WARRANTY START DATE:                                                 - Any vehicle on which the odometer reading has been al-
              The above-mentioned warranty periods shall begin on the                tered so that actual mileage cannot be readily determined.
              date the vehicle is delivered to the first retail purchaser or, if   - Failures that are a direct result of a lack of performance of
              the vehicle is first placed in service as a demonstrator or com-       required emission control maintenance as outlined in your
              pany car prior to sale at retail, on the date the vehicle is first     Owner’s Manual.
              placed in such service.                                              - Parts or accessories used in applications for which they
                                                                                     were not designed or not approved for use on the vehicle by
                                                                                     HMA.
                                                                                   - Parts not supplied by HMA or damage to other parts caused
                                                                                     directly by non-Hyundai parts or non-equivalent parts.
                                                                                   - The charge for diagnostic labor which does not lead to the
                                                                                     determination that a warrantable condition exists.

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       SECTION 10                      EMISSION CONTROL SYSTEMS WARRANTY - CALIFORNIA VEHICLE
       * INCIDENTAL OR CONSEQUENTIAL DAMAGES, SUCH                         However, the cost of such maintenance and parts will not be




                                                                                                                                             SECTION 10
         AS, LOSS OF TIME, INCONVENIENCE, LOSS OF USE                      covered under this warranty unless it is an “Emergency Re-
         OF THE VEHICLE, OR COMMERCIAL LOSS ARE NOT                        pair” situation. (Refer to “Emergency Repair” for definition of
         COVERED UNDER THIS WARRANTY.                                      emergency repair situation)
       * The duration of any implied warranties, including those of        Use of replacement parts which are not equivalent in quality
         MERCHANTABILITY and FITNESS FOR A PARTICULAR                      to Hyundai Genuine Parts may impair the effectiveness of the
         PURPOSE, regarding emissions systems defects are lim-             emission control system. You should make sure such parts
         ited to the duration of this limited warranty.                    are warranted by their manufacturer to be equivalent in de-
                                                                           sign and quality to Hyundai supplied parts. HMA assumes no
          Some states do not allow limitations on how long an implied      Iiability under this warranty for any vehicle damage caused
          warranty lasts or the exclusion or limitation of incidental or   by a defect in any such parts.
          consequential damage, so the limitations or exclusions set
          forth regarding this limited warranty may not apply to you.      OBTAINING WARRANTY SERVICE
                                                                           To obtain warranty service, you must return your Hyundai ve-
       REPLACEMENT PARTS                                                   hicle to any authorized Hyundai Dealer in California, Con-
       It is recommended that any replacement parts used for main-         necticut, Delaware, Maine, Maryland, Massachusetts, New
       tenance, repair or replacement of the emission control system       Jersey, Oregon, Pennsylvania, Rhode Island, Vermont or
       be parts supplied by HMA.                                           Washington during its normal service business hours, where
                                                                           such service will be performed.
       Maintenance, repair or replacement of the emission control
       system may be performed by any qualified automotive repair
       facility or individual, using parts other than Hyundai Genuine
       Parts without invalidating this warranty.




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              SECTION 10                     EMISSION CONTROL SYSTEMS WARRANTY - CALIFORNIA VEHICLE
              When failing a Smog Check test, an authorized Hyundai              The lack of availability of warranted parts within 30 days shall
SECTION 10



              Dealer may ask the owner to provide proof that the required        constitute an emergency situation (see EMERGENCY RE-
              maintenance was performed when the dealer has reason to            PAIR).
              believe that the required maintenance;
                o Was not performed and                                          EMERGENCY REPAIR
                o If not performed, may be the cause for the particular          In an emergency, where an authorized Hyundai Dealer is not
                   vehicle exceeding applicable emission standards.              reasonably available, warranty repairs may be made at any
                                                                                 available service facility, or by the owner using any replace-
              For a Smog check test failure, if your Warranty Claim under        ment part. A repair not being completed within 30 days also
              the 2016 Emission Control Systems Limited Warranties is de-        constitutes an emergency.
              nied, HMA or its dealer will provide you with a written explana-   HMA will reimburse you for your expenses including diagnos-
              tion of why the claim was denied within 30 days from the time      tic charges, for repairs covered by this warranty, for parts at
              you bring the car to Hyundai Dealer.                               HMA’s suggested retail price, and for labor at a geographically
                                                                                 appropriate labor rate per HMA’s recommended time allow-
              If the authorized Hyundai Dealer does not notify the vehicle       ance. For reimbursement, present all replaced parts and a
              owner within 30 days that a warrantable condition does not         copy of your paid receipt to any authorized Hyundai Dealer.
              exist, then HMA will repair the vehicle free of charge, unless:    HMA assumes no liability for the workmanship of the repair
                                                                                 facility.
                 o The delay is requested by you, the Hyundai vehicle
                   owner.
                 o The delay is caused by factors beyond the control of HMA
                   or an authorized Hyundai Dealer.




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       SECTION 10                       EMISSION CONTROL SYSTEMS WARRANTY - CALIFORNIA VEHICLE
       CALIFORNIA VEHICLE INSPECTION                                         If your Hyundai vehicle is determined to fail the Smog Check




                                                                                                                                               SECTION 10
       PROGRAM                                                               test by such service facility, you may deliver your Hyundai ve-
       If your 2016 Hyundai vehicle fails to pass a Smog Check test af-      hicle to an authorized Hyundai Dealerand have it repaired
       ter a period of use of 5 years or 60,000 miles, but before a period   free of charge in accordance with this warranty.
       of use of 8 years or 80,000 miles, whichever occurs first, you
       may choose to have your vehicle repaired at an authorized             OBTAINING WARRANTY SERVICE
       Hyundai Dealeror another service facility.                            In the event of a Claim, you must return your vehicle to an au-
                                                                             thorized Hyundai Dealer for examination and approval by
       In the event that the Hyundai Dealer determines that the smog         Hyundai prior to any repair or replacement.
       check failure was caused by the failure or malfunction of a part      Warranty service will be provided by authorized Hyundai
       listed in this Owner's Handbook specially noted with coverage         Dealer without charge for parts or labor.
       for 8 years or 80,000 miles, then your Hyundai vehicle will be re-
       paired under this limited warranty at no expense to you, unless
       the part failure or malfunction was caused by abuse, neglect, or
       improper maintenance.

       However, if the authorized Hyundai Dealer determines that the
       smog check failure was directly caused by abuse, neglect, or
       improper maintenance, then you will be responsible for all diag-
       nostic and repair costs related to detecting and repairing your
       Hyundai vehicle so it will pass the Smog Check test. If you
       choose to have your Hyundai vehicle repaired at a service facility
       other than an authorized Hyundai Dealer, HMA will not be liable
       for any diagnostic and repair expenses, except where such re-
       pair is necessary by reason of an emergency.

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              SECTION 11                         REPLACEMENT PARTS AND ACCESSORIES LIMITED WARRANTY
              WHAT IS COVERED                                                    REPLACEMENT PART WARRANTY PERIOD
SECTION 11



              Warranty coverage is for repair or replacement of any Hyun-        The Replacement Parts Limited Warranty period is limited to 1
              dai Genuine Replacement Part or Accessory supplied from            year from the date of installation, or twelve thousand (12,000)
              Hyundai Motor America which is found to be defective in ma-        miles of service, whichever occurs first, for Hyundai Genuine
              terial or workmanship under normal use and maintenance,            replacement parts supplied by HMA and purchased from and
              except any item specifically referred to in the section “What is   installed by an authorized Hyundai Dealer. Parts replaced un-
              Not Covered”.                                                      der the terms of the New Vehicle Limited Warranty, Powertrain
                                                                                 Limited Warranty, Emission Defect Warranty, Emission Per-
              Repairs are to be performed using New Hyundai Genuine              formance Warranty, or California Emission Control Systems
              Parts or Hyundai authorized remanufactured parts.                  Warranty, are warranted for the remainder of the applicable
                                                                                 warranty which the part was previously replaced under.
              Parts/Accessories that were sold and installed by an Autho-
              rized Hyundai Dealer will be repaired or replaced without          Certain Emission Control System items require scheduled re-
              charge for parts/accessories and labor. If the parts/accesso-      placement as part of the scheduled maintenance of the ve-
              ries were not originally installed by an Authorized Hyundai        hicle (i.e. spark plugs). Replacement of these items is war-
              Dealer, they will be repaired or replaced without charge for       ranted in normal service up to the first replacement interval
              parts/accessories, but labor charges will not be covered.          only. (Refer to your Owner’s Manual and its scheduled mainte-
              INClDENTAL OR CONSEQUENTIAL DAMAGES, INCLUD-                       nance section). Genuine Hyundai Parts and Accessories sup-
              ING WITHOUT LIMITATION, LOSS OF TIME, INCONVE-                     plied by HMA and purchased from an authorized Hyundai
              NIENCE, LOSS OF USE OF THE VEHICLE, OR COMMER-                     Dealer, but not installed by an authorized Hyundai Dealer, are
              CIAL LOSS ARE NOT COVERED UNDER THIS WARRANTY.                     covered for twelve (12) months from the date of purchase
                                                                                 from the authorized Hyundai Dealer.




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       SECTION 11                             REPLACEMENT PARTS AND ACCESSORIES LIMITED WARRANTY
       ACCESSORY WARRANTY PERIOD                                                 OWNER’S RESPONSIBILITIES




                                                                                                                                                    SECTION 11
       A Hyundai Genuine accessory installed by an authorized                    * Proper use, maintenance, and care of the vehicle (part) in
       Hyundai dealer on a new vehicle at the time of, prior to, or after          accordance with the instructions contained in the Owner’s
       the vehicle’s date of delivery to the original retail purchaser, or         Manual.
       the date the vehicle is first put into service, is covered under the      * Retention of maintenance service records. It may be nec-
       New Vehicle Limited Warranty and is limited to 5 years from the
                                                                                   essary for the customer to demonstrate and prove that the
       date of original retail delivery or date of first use, or 60,000 miles,
                                                                                   required maintenance has been performed, as specified in
       whichever occurs first.
                                                                                   the Owner’s Manual.
       A Hyundai Genuine accessory purchased over-the-counter is                 * Retention of the customer’s copy of the original repair order
       warranted for 1 year/unlimited mileage.                                     or original part counter sales receipts. The repair order or
                                                                                   sales slip receipt will state the date of the parts sale. For
       An air conditioning system installed by an authorized Hyundai               parts originally installed by an authorized Hyundai Dealer,
       Dealer is covered for 1 year or twelve thousand (12,000) miles,             the repair order must also state the mileage of the vehicle
       whichever occurs first, or the remainder of the New Vehicle Lim-            at the time of original replacement.
       ited Warranty, whichever is greater, from the date of installation.       * Delivery of the part or accessory and supporting documen-
       An AM/FM radio, cassette player, CD/DVD player, air condition-              tation indicating the date and, if applicable, mileage at time
       ing system, Bluetooth or Navigational System purchased over
                                                                                   of purchase and installation during regular parts and/or ser-
       the counter is warranted for 1 year/unlimited mileage. AM/FM ra-
                                                                                   vice hours to any authorized Hyundai Dealer to obtain war-
       dio, cassette player, CD/DVD player, Bluetooth, or Navigation
       System are covered for 1 year/unlimited mileage if purchased                ranty service.
       and installed after the vehicle has been retailed or placed into
       service.




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              SECTION 11                           REPLACEMENT PARTS AND ACCESSORIES LIMITED WARRANTY
              WHAT IS NOT COVERED                                                   * INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
SECTION 11



              * Normal maintenance services of parts or accessories such              WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,
                as: cleaning, adjustment or replacement (i.e. spark plugs             LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS
                that are oil fouled, lead fouled, or which fail due to the use of     ARE NOT COVERED UNDER THIS WARRANTY.
                low grade or contaminated fuel).
              * Parts or accessories that fail due to abuse, misuse, neglect,       * The duration of any implied warranties, including those of
                alteration or accident, or which have been improperly lubri-          MERCHANTABILTY and FITNESS FOR A PARTICULAR PUR-
                cated or repaired.                                                    POSE, are limited to the duration of this limited warranty.

              * Parts or accessories used in applications for which they              Some states do not allow limitations on how long an im-
                were not designed or not approved by HMA.                             plied warranty lasts, or the exclusion or limitations of inci-
                                                                                      dental or consequential damages, so the limitation or ex-
              * Failures due to normal wear.                                          clusions set forth regarding this limited warranty may not
                                                                                      apply to the owner.
              * Failures caused by non-Hyundai parts.
                                                                                    NOTE:
                                                                                    Vehicles which contain non-Hyundai Genuine parts, or which
              * Any vehicle on which the odometer reading has been al-
                                                                                    have been misused, or improperly maintained, will not have
                tered so that mileage cannot be accurately determined.
                                                                                    the coverage under the Replacement Parts and Accessories
                                                                                    Limited Warranty denied, unless the non-Hyundai Genuine
              * Any part previously replaced under the terms of the New
                                                                                    part, the misuse, or the improper maintenance directly caused
                Vehicle Limited Warranty, Powertrain Limited Warranty,
                                                                                    or contributed to the subsequent problem.
                Emission Defect Warranty, Emission Performance Warranty,
                or California Emission Control Systems Warranty.                    OBTAINING WARRANTY SERVICE
                                                                                    Warranty Service will be provided by any authorized Hyundai
                                                                                    Dealer.

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